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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW HAMPSHIRE




Michael David Bailey

      v.                                   Civ. No. 20-cv-540-JL

FCI Berlin


                                      ORDER


      After due consideration of the objection filed, I herewith

approve the Report and Recommendation of Magistrate Judge Andrea

K. Johnstone dated September 21, 2020.

      SO ORDERED.


                                           ____________________________
                                           Joseph N. Laplante
                                           United States District Judge

Date: October 2, 2020

cc:   Michael David Bailey, pro se
      Seth R. Aframe, AUSA
